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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                  Case No. 07-40152-01-RDR

JOSHUA L. NOXON,

                  Defendant.


                                  O R D E R

     This order is issued to record the rulings of the court upon

the issues which arose during the sentencing hearing conducted on

October 27, 2008.        Defendant was sentenced pursuant to a jury

verdict which found defendant guilty of distribution of child

pornography in violation of 18 U.S.C. § 2252(a)(2) and possession

of child pornography in violation of 18 U.S.C. § 2252(a)(4)(B).

     The presentence report sets forth the Sentencing Guidelines

calculations in this matter.        The total offense level in this case

is 39.    The criminal history category is I.       The Guideline range is

262 to 327 months.      There is a statutory maximum of 240 months on

the distribution count and 120 months on the possession count.

     The government made no objections to the presentence report.

Defendant made four objections to the presentence report and asked

for a variance from the Guideline range.            Both sides have filed

sentencing memoranda which the court has carefully considered.           In

addition, the court heard witness testimony during the sentencing
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hearing and considered the exhibits submitted by counsel.

     RULINGS UPON DEFENDANT’S OBJECTIONS AND REQUEST FOR VARIANCE

     1.    Defendant’s first objection was that he did not actually

traffic in or distribute actual images of child pornography.

Defendant asserted that he only forwarded the computer addresses of

pornographic “briefcases” and websites maintained by other people.

     The court rejected this argument. By forwarding the addresses

of websites and facilitating access to “briefcases” containing

pornographic material, defendant aided and abetted the distribution

of child pornography even if he did not maintain or control those

websites and “briefcases.”         See U.S. v. Hair, 178 Fed.Appx. 879,

2006 WL 1073056 (11th Cir. 2006) (defendant aided and abetted

transportation of child pornography by sending undercover agent

emails     with   links   to   a    Yahoo   briefcase    containing      child

pornography); U.S. v. Navrestad, 66 M.J. 262 (2008) (overturning a

conviction for distribution of child pornography, but not reaching

the aiding and abetting argument in Hair because the government did

not make that argument to the trier of fact).

     This is sufficient to find that defendant distributed child

pornography.      The Guidelines broadly define “distribution” as “any

act . . . related to the transfer of material involving the sexual

exploitation of a minor.”          U.S.S.G. § 2G2.2, Application Note 1.

Defendant’s actions fall within that broad definition.

     2.    Defendant’s second objection was that the pictures found


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on the CD in his possession do not portray sadistic or masochistic

conduct.

     The court rejected this contention.         There is evidence of

pictures exhibiting children in bondage and adult/child intercourse

which constitutes the type of pornography which qualifies for an

enhanced offense level under U.S.S.G. § 2G2.2(b)(4).

     3. Defendant’s third objection was that there were fewer than

150 images involved in this matter. The presentence report asserts

that there were 300 to 600 images of child pornography.

     The court finds after a review of the evidence that there were

more than 300 images in the possession of defendant.                  In the

court’s opinion, exhibit 11 contains well over 300 images of child

pornography in addition to a video clip which is longer than 10

minutes and should count for 75 images or more.       U.S.S.G. § 2G2.2,

Application Note 4(B)(ii).

     Therefore, the court rejected defendant’s third objection.

     4. Defendant’s final objection listed factors which defendant

argued provide grounds for a variance below the Guideline range in

this case.

     First,   defendant    noted   the   factors    mentioned     in     the

presentence report in paragraph 90:         defendant has no criminal

history; defendant has had no prior contact with law enforcement;

and defendant does not have a history of substance abuse.

     Second, defendant noted the following additional factors:


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defendant’s conduct was “significantly induced” by the undercover

agent; defendant took the “remedial step” of joining the Army,

completing boot camp, and proceeding to the point where he was

scheduled to deploy to Afghanistan when he was formally arrested on

federal charges; prior to these charges defendant participated in

sexual offender treatment program in Colorado; and the only person

defendant distributed an address to was the undercover agent.

     Finally, defendant asserted that Congress did not intend for

a sentence in this kind of case to exceed the statutory maximum of

20 years for distribution or 10 years for possession, particularly

for a first offender with defendant’s history, background and

characteristics.

     The government asserted that the facts of this case do not

warrant a sentence outside the Guideline range.          The government

noted that defendant engaged in online conversations with more than

one “underage female”.   The government further introduced evidence

that defendant took advantage of a young woman with whom he chatted

over the computer and that he engaged in computer chats in which he

encouraged intercourse with minors.

     The court considered the written and oral arguments of both

sides, the presentence report, the Sentencing Guidelines and the

factors mentioned in 18 U.S.C. § 3553.       The court decided to make

a variance from the Guideline Range in this case for the following

reasons.


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        First, the Guideline range produces a sentence which is

greater than necessary to satisfy the purposes of § 3553.            In this

case,    the   Guideline   range    exceeds   the   statutory   maximum   for

distribution of child pornography.            A sentencing system which

treats a fairly ordinary child pornography crime for a first

offender by issuing a sentence greater than the statutory maximum

for the primary offense, deviates from the approach this court and

most courts follow for almost any other crime. Several courts have

noted that the Guidelines for child pornography cases have diverted

from the empirical approach used by the Sentencing Commission for

other types of crimes and, therefore, have made a variance from the

Guidelines.     See, for example, U.S. v. Hanson, 561 F.Supp.2d 1004,

1009-1011 (E.D.Wis. 2008).         We agree with this analysis.

        We note, for instance, in contrast, that had defendant been

found guilty of deliberately assaulting a person with a gun, in

violation of 18 U.S.C. § 113(a)(6), and causing a permanent or

life-threatening injury, the statutory maximum would be ten years

and the Guideline range for a first offender who went to trial

would begin at 78 months.

        Second, defendant has no criminal history.

        Third, since the commission of this crime, defendant has

engaged in treatment and may benefit from additional treatment

while in prison.

        Fourth, defendant has a good record of employment and no


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substance abuse history.

     Fifth, the court has looked at a large number of other child

pornography sentences. It is difficult to find a consistent thread

in these cases, and each case has a unique set of facts and

circumstances, but most of the cases the court has examined have

involved sentences considerably less than 20 years.            In addition,

the court would note that the Sentencing Commission’s 3rd Quarterly

Sentencing Update reflects a widespread practice of making a

substantial     downward   variance       in   pornography   cases.    U.S.

Sentencing Commission Preliminary Quarterly Data Report, 3rd Quarter

Release, Table 12 (2008).

     The court is also aware of the need to reflect the seriousness

of the offense; to promote respect for the law and to provide just

punishment.   The possession and distribution of child pornography

are serious crimes which cause major harm to society.             The court

must also protect the public from further crimes of the defendant.

Although the court is fairly confident that defendant will not

reoffend, the court has given consideration to defendant’s chat

room conversations and other relevant conduct in measuring the

threat defendant may pose to the public.

     After fully considering all of these matters, the court

decided that a sentence of 144 months is the appropriate sentence

in this case.    Therefore, the court sentenced defendant to a term

of 144 months on the distribution charge and 120 months on the


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possession charge.    Both sentences are to run concurrently.         In

addition, defendant was sentenced to a 10-year term of supervised

release on each count, again to run concurrently.

IT IS SO ORDERED.

     Dated this 28th day of October, 2008 at Topeka, Kansas.



                                 s/Richard D. Rogers
                                 United States District Judge




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